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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION

FLORIDA STATE CONFERENCE OF
BRANCHES AND YOUTH UNITS OF
THE NAACP, COMMON CAUSE, and
DISABILITY RIGHTS FLORIDA, et
al.,

             Plaintiffs,

v.
                                           Case No. 4:21-cv-187-MW-MAF
LAUREL M. LEE, in her official
capacity as Secretary of State of
Florida, et al.,

             Defendants,

and

REPUBLICAN NATIONAL
COMMITTEE, et al.,

             Intervenor-Defendants.

         DEFENDANTS’ CORRECTED MEMORANDUM OF LAW
              IN SUPPORT OF SUMMARY JUDGMENT*




* Due to technical difficulties, counsel for the Secretary could not upload exhibits
referenced in the memorandum of law onto the Court’s CM/ECF system until after
11:59PM on November 12, 2021. This corrected memorandum updates only the
citations to exhibits later uploaded to this Court’s CM/ECF system early on the
morning of November 13, 2021.
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      I.     Introduction

      Plaintiffs Disability Rights Florida, Common Cause, and Florida State

Conference of the NAACP allege that four sections of Chapter 2021-11, Laws of

Florida (“2021 Law”) violate federal law. See Case No. 187, ECF 45. Only three

sections of Florida’s election reform legislation remain here. See ECF 249.

      The three remaining sections amend the following statutes: (1) Section

101.62(1)(a), Florida Statutes, which requires voters to renew their request for a

vote-by-mail ballot every election cycle (“vote-by-mail request provision”); (2)

Section 101.69(2)-(3), Florida Statutes, which provides a uniform and secure

statewide standard for the use of drop boxes used to return vote-by-mail ballots

(“drop box standard”); and (3) Section 102.031(4)(a)-(b), Florida Statutes, which

prohibits anyone from “engaging in any activity with the intent to influence or effect

of influencing a voter” inside a polling place or within 150 feet of a drop box or

entrance of any polling place (“non-solicitation provision”).

      The Secretary and the Supervisors1 (collectively “Defendants”), each in their

official capacities, move for summary judgment on all remaining counts related to

the three provisions. Defendants address Plaintiffs’ standing; the intentional race-



1
 Alan Hays and Tommy Doyle, the Supervisors of Elections for Lake County and
Lee County, join in the defense of the vote-by-mail request and non-solicitation
provisions. Therefore, the Supervisors join sections I through IV(H) of the Motion
and Memorandum to the extent those two provisions are at issue.

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based discrimination claims under the Fourteenth and Fifteenth Amendments, and

Section 2 of the VRA (“VRA”) in Counts I, VI, VII, and VIII, ECF 45 ¶¶ 125-141,

186-223; the First and Fourteenth Amendment claims in Count II, using the

Anderson/Burdick2 framework, id. ¶¶ 142-151; claims brought under Title II of the

Americans with Disabilities Act (“ADA”) and Section 208 of the VRA in Counts III

and IX, id. ¶¶ 152-166, 224-228; the First Amendment “speech and expression”

claim in Count IV directed at the non-solicitation provision, id ¶¶ 167-176; and the

First and Fourteenth Amendment “overbr[eadth] and vague[ness]” claim in Count V

directed at the non-solicitation provision, id. ¶¶ 177-185.

      II.    Statement of Facts

      Legislatures have plenary authority to set the time, manner, and place of

elections under the federal and state constitutions. The Florida Legislature passed,

and the Governor signed, Senate Bill 90 (“SB90”), codified as Chapter 2021-11

Laws of Florida (“2021 Law”), consistent with that grant of authority.

      The 2021 Law was not enacted in a vacuum. It was introduced against the

following backdrop: Several attempts to enact last-minute changes to election rules

through emergency actions or court orders; national attention to allegations of

election fraud made in the wake of the 2020 election; concerns about the fairness of



2
 See Anderson v. Celebrezze, 460 U.S. 780 (1983); Burdick v. Takushi, 504 U.S.
428 (1992).

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elections, see ECF 283-15, Exh. D at 10; and even an incident where an individual

impermissibly altered Governor DeSantis’ voter registration, Gary Fineout, Politico,

Florida man charged after altering governor’s voter registration.3 Then, there is

Florida, with its own history of voter fraud. See, e.g., ECF 283-1at 11. The Florida

Legislature thus enacted certain revisions to its laws to proactively address issues of

voter security. SB90—which became the 2021 Law—was introduced on Feb. 3,

2021. ECF 283-8 at 1. The process by which the legislature enacted the law was

average in all respects except for the ongoing pandemic that required some changes

to the public engagement process. After four months of amendments and debate,

Governor DeSantis approved SB 90 on May 6, 2021. Id. at 6.

      Even after SB90, voting in Florida is either as easy or easier than voting in

most states. ECF 283-1¶¶ 8-15. Specifically, Florida’s rules respecting early voting

and vote-by-mail have become progressively easier since the 1980s. Id. ¶ 9. Florida’s

requirement that drop boxes be made available to voters puts Florida in the rarefied

air of only ten states allowing this method of voting. Id. ¶ 10. Florida’s third-party

voter registration rules are consistent with the “vast majority of states that impose

requirements on” third-party voter registration organizations (“3PVROs”) and

Florida’s fourteen-day deadline for returning registration forms is longer than the



3
 https://www.politico.com/states/florida/story/2020/10/28/florida-man-charged-
after-altering-governors-voter-registration-1331838.

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average permitted by other states. Id. ¶ 12. Florida’s absentee ballot verification rules

are well within the norm of all states and “[o]nly four states (other than states that

conduct all or mostly all-mail elections) have [ID] verification checks that are less

strenuous” than Florida’s. Id. at 13. Florida’s rule that a no-excuse absentee ballot

be requested every two years “makes Florida the most lenient state among the thirty-

eight states that regulate absentee voting in some way short of a no-excuse

permanent absentee or all-mail voting.” Id. ¶ 14. Finally, Florida’s non-solicitation

rules “mirror the vast majority of state rules across the country” prohibiting the

influencing of voters within a certain distance of polling places. Id. ¶ 15.

       Provisions of the 2021 Law that Plaintiffs’ challenge are simply reasonable,

rational, and constitutional voting regulations. Notwithstanding these facts,

Plaintiffs filed suit.

       III.   Relevant Legal Standard

       Summary judgment is appropriate when, as here, “the movant shows that

there is no genuine dispute as to any material fact and the movant is entitled

to judgment as a matter of law.” Fed. R. Civ. P. 56(a). Disputes are “‘genuine’…if

the evidence is such that a reasonable jury could return a verdict for the nonmoving

party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). “Material” facts

are those that might affect the outcome of the case under the governing substantive

law, not those that “are irrelevant or unnecessary.” Id. The nonmoving party also



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has an obligation to come forward with “specific facts showing there is a genuine

issue for trial.” Celotex Corp. v. Catrett, 477 U.S. 317, 324 (1986). “A mere

‘scintilla’ of evidence supporting the [nonmoving] party’s position will not suffice;

there must be a sufficient showing that the jury could reasonably find for that party.”

Walker v. Darby, 911 F.2d 1573, 1577 (11th Cir. 1990).

      IV.    Argument

      Plaintiffs “must prove (1) an injury in fact that (2) is fairly traceable to the

challenged action of the defendant and (3) is likely to be redressed by a favorable

decision,” Jacobson v. Fla. Sec’y of State, 974 F.3d 1236, 1245 (11th Cir. 2020),

“by affidavit or other evidence ‘specific facts,’ which for purposes of the summary

judgment motion will be taken to be true.” Lujan v. Defs. of Wildlife, 504 U.S. 555,

560–61 (1992). Assuming one or more of the Plaintiffs have established standing,

this Court should still enter summary judgment in favor of Defendants on the merits

of the remaining claims. Plaintiffs fail to produce evidence sufficient to show

intentional race-based discrimination or discriminatory effects. The drop box, vote-

by-mail request, and non-solicitation provisions easily pass the Anderson/Burdick

test. The non-solicitation provision satisfies the requirements of the First

Amendment. Vagueness and overbreadth claims against the non-solicitation

provision are without merit. And the ADA and VRA claims are ripe for summary

judgment in favor of Defendants.



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              A.     Plaintiffs Lack Standing.

       Plaintiffs’ burden to establish Article III standing increases at the summary

judgment stage for each of their claims.

       Also, because incorporated entities have no right to vote, they must prove

standing by showing either harm to their members or harm to themselves as

organizations. Jacobson, 974 F.3d at 1248-49. Associational standing requires that

“an organization… prove that its members would otherwise have standing to sue in

their own right.” Id. at 1249. Relatedly, “an organization has standing to sue on its

own behalf if the defendant’s illegal acts impair its ability to engage in projects by

forcing the organization to divert resources to counter those illegal acts.” Id. at 1250.

Specifically, a Plaintiff must show what the organization would “divert resources

away from in order to spend additional resources on combating” the alleged illegal

acts. Id.

       Because none of Plaintiffs’ experts have quantified the magnitude of any

burden on Plaintiffs, Plaintiffs fail to demonstrate concrete, particularized injury-in-

fact that satisfies Article III.

                     1.      Disability Rights Florida

       Plaintiff Disability Rights Florida (“DRF”) alleges that it is a nonprofit that

advocates for the voting rights of individuals with disabilities, including helping with

inaccessible polling sites and ballots. See ECF 45 ¶ 20. DRF also alleges that it trains



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election officials on expanding voting accessibility, promotes robust voter

registration, and engages in voter education efforts. Id. ¶ 21.

      DRF claims that the 2021 Law will make it more difficult for DRF to engage

in its mission and will require DRF to divert resources toward advocating for more

accessible voting-by-mail (VBM) throughout Florida. Id. ¶ 22. However, DRF’s

deposition confirmed that its ability to assist voters with disabilities in future

elections will remain unaffected by the 2021 Law. See ECF 283-18 at 56-63

(detailing the collaborative relationship DRF has had with the Division of Elections

and county supervisors, and explaining Director Matthews has “always showed a

willingness to work with us”); id. at 82-83 (confirming that disabled voters can still

have their absentee ballots delivered by a friend, family member, or volunteer under

the 2021 Law). In addition, the deposition confirmed that DRF’s allegations about

diversion of resources are unsupported. Id. at 11-12 (noting that DRF’s total federal

grants have grown from $6 million to $8 million in the last four years). DRF will

have the capacity to continue making the commitments it has made previously.

      Finally, DRF failed to explain how its members have been burdened by the

2021 Law because multiple voting options remain available. E.g., id. at 71-72

(noting that a person’s choice of voting method is not “always just [a] need[]…. very

often they’re preferences”); id. at 51 (conceding that DRF has not sought any legal

relief related to inaccessible voting sites in Florida within the last five years).



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       In short, DRF lacks standing.

                     2.     Common Cause

       Plaintiff Common Cause alleges it is a nonprofit citizen lobby that advocates

for free, fair, and accessible elections in Florida. ECF 45 ¶ 23. Common Cause

alleges that it encourages and supports voter participation by engaging in voter

education and outreach efforts, and funding translation of election information for

non-English-speaking voters. Id.

       Common Cause claims that the 2021 Law will “severely burden or deny the

right to vote of Common Cause’s Florida members” by means of the challenged

provisions here, and that these “will force Common Cause to divert time, money,

and resources away from other activities[.]” Id. ¶ 24.

       However, Common Cause’s deposition undermines these allegations because

it “do[es] not collect demographic information on our members” and so lacks the

information needed to quantity the harm allegedly caused by the 2021 Law. ECF

283-3 at 24-25. Common Cause also testified that it has not yet established its

budget for 2022, so it could not provide “an exact number” detailing resources

allegedly diverted. Id. at 27, 30-31. Common Cause further conceded that the

organization “do[es] not keep record of all of our interactions with voters,” and so

lacked any information concerning the number of voters it has assisted in the past or

will assist in the future. Id. at 29.



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      Common Cause lacks standing.

                    3.     Florida State Conference of the NAACP

      Plaintiff Florida State Conference of the National Association for the

Advancement of Colored People (“Florida NAACP”) alleges the impact of the 2021

Law “will severely burden or deny the right to vote of the Florida NAACP’s

members” by means of the challenged provisions here. Id. ¶ 18.

      However, the Florida NAACP’s deposition revealed that it does not have

information on the number of its members who lack all three permissible forms of

personally identifying information, a necessary showing for establishing the burden

of the vote-by-mail request provision. ECF 283-20 at 120. Further, no member of

the NAACP has indicated that they will be unable to vote in the 2022 election

because of their race. Id. at 16. NAACP also testified that it will continue its voter

education efforts as before and is “not going to use [the 2021 Law] as an excuse” to

halt those efforts. Id. at 19-20.

      Florida NAACP lacks an injury-in-fact.

             B.     Plaintiffs are unable to establish intentional race-based
                    discrimination under the Fourteenth and Fifteenth
                    Amendments, and Section 2 of the Voting Rights Act.

      Plaintiffs’ intentional racial discrimination claims against Defendants fail.

Racial discrimination claims under the Fourteenth and Fifteenth Amendments

“require[] proof of both an intent to discriminate and actual discriminatory effect.”



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Greater Birmingham Ministries v. Sec’y of Ala., 992 F.3d 1299, 1321 (11th Cir.

2021). Courts assess both claims under a two-step framework. “Plaintiffs must first

show that the State’s decision or act had a discriminatory purpose and effect.” Id.

Without evidence of “both intent and effect,” Plaintiffs’ “constitutional claims fail”

at step one. Id. If Plaintiffs clear that first threshold, “‘the burden shifts to the law’s

defenders to demonstrate that the law would have been enacted without th[e] [racial

discrimination] factor.’” Id.

      Furthermore, Section 2 of the VRA (52 U.S.C. § 10301) requires Plaintiffs to

either demonstrate proof of intent or demonstrate “that a challenged election practice

has resulted in the denial or abridgment of the right to vote based on color or race.”4

Chisom v. Roemer, 501 U.S. 380, 394 (1991).

       The test in Village of Arlington Heights v. Metropolitan Housing Development

Corporation governs all intent claims at issue here. 429 U.S. 252, 265 (1977).5



4
 Defendants assume for the purposes of this filing that Section 2 of the VRA allows
for an intent claim. They reserve the right to argue in this and other cases that the
plain language of Section 2 allows for only an effect claim if it allows for a cause of
action at all. See Brnovich v. DNC, 210 L. 3d. 2d 753, 786 (2021) (Gorsuch, J.,
concurring).
5
  Because Plaintiffs cannot prove effect since any alleged burdens of Florida’s
election laws amount to no more than “the usual burdens of voting,” Brnovich, 210
L. Ed. at 773, 778-79, 781, the analysis of discriminatory intent is unnecessary,
Greater Birmingham, 992 F.3d at 1321. In so far as it is necessary, Plaintiffs’ intent
claims are also mostly complaints about “the usual burdens of voting.” Cf. Brnovich,
210 L. Ed. at 773, 778-79.

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Arlington Heights requires courts to assess:

      (1) [T]he impact of the challenged law; (2) the historical background;
      (3) the specific sequence of events leading up to its passage; (4)
      procedural and substantive departures; and (5) the contemporary
      statements and actions of key legislators. And, because these factors
      are not exhaustive, the list has been supplemented: (6) the foreseeability
      of the disparate impact; (7) knowledge of that impact; and (8) the
      availability of less discriminatory alternatives.

Greater Birmingham, 992 F.3d at 1321-22. The key question is whether “the

legislature as a whole was imbued with racial motives.” See Brnovich, 210 L. 3d. 2d

at 785. Because Plaintiffs have failed to point to any evidence of discriminatory

intent in this case, much less evidence sufficient to create a genuine issue of material

fact, Defendants are entitled to judgment on the racial intent claims.

                    1.     The Impact of the Challenged Law.

      For discriminatory impact to carry the day, Plaintiffs must couple impact with

sufficient factual allegations to “establish a pattern, unexplainable on grounds other

than race.” Greater Birmingham, 992 F.3d at 1322 (quotation omitted). Plaintiffs’

evidence fails to establish that “clear pattern.” Id.; Brnovich, 210 L. Ed. 2d at 785.

      Plaintiffs cite to no evidence that minority voters cannot follow the rules and

procedures imposed by the 2021 Law, or that any voter cannot vote because of the

law. Cf. ECF 283-28 at 146-147 (explaining that nothing in SB90 will prevent Lee

County voters from registering and voting); ECF 283-26 at 142 (same in Pasco

County); ECF 283-23 at 194 (same in Hillsborough County). Plaintiffs attempt to


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quantify the supposed impacts of the law, but this ultimately amounts to a mere

conclusory assertion that there will be a discriminatory impact; when pressed on the

question, their experts acknowledged they do not know how much of an impact will

result, or that marginal differential impacts may exist but they are extremely minor.

E.g., ECF 283-9 at 136-37, 159, 191, 220 (admitting that the impact of the 2021

Law’s provisions on minority voters cannot be quantified); ECF 283-15 at 147-150

(acknowledging she did not know whether marginal differences between rates of

minority voters and white voters using drop boxes, returning ballots by USPS, and

waiting to vote in person were statistically significant). That Plaintiffs cannot muster

evidence of disparate impacts (or magnitude of impacts) of any practical significance

fatally undermines their claim that the Florida legislature must have known about

such alleged impacts.

      Disparate impacts alone are typically insufficient to show intentional

discrimination anyway. Benitez v. Georgia Dep’t of Cmty. Health, 2007 WL

9710227, at *4 (N.D. Ga. Oct. 3); Arlington Heights, 429 U.S. at 264-65. Plaintiffs

do not deny that SB90 is facially race-neutral. Courts will not “‘regard neutral laws

as invidious ones, even when their burdens purportedly fall disproportionately on a

protected class.’” Greater Birmingham, 992 F.3d at 1327.

      Because this is not the “rare” case where impacts alone are determinative, id.

at 1322, this factor weighs strongly in favor of dismissal.



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                    2.    The Historical Background.

      Courts “cannot accept official actions taken long ago as evidence of current

intent.” McCleskey v. Kemp, 481 U.S. 279, 298 n.20 (1987). The historical

background inquiry thus does not involve “an unlimited look-back to the past

discrimination” that, “in the manner of original sin, condemn[s] governmental action

that is not itself unlawful.” Greater Birmingham, 992 F.3d at 1323-26. Instead,

there must be a close tie to the 2021 Law. Id.

      History cited by Plaintiffs does not stem from “the precise circumstances”

surrounding SB90’s passage; it predates SB90. Id. at 1325. That history cannot be

used to prevent Florida from enacting otherwise valid election reforms. Id. Plaintiffs’

evidence under this factor is therefore inadequate.

      Specifically, Plaintiffs allege that “[f]rom 1972 to 2012… multiple counties

in Florida were required under the [VRA] to seek federal [pre]clearance for changes

to their election laws,” ECF 45 ¶ 6, but neglect to mention that the State of Florida,

as a whole, has never been a covered jurisdiction.6 Plaintiffs also attempt to connect

the past with today’s Florida by invoking post-reconstruction history. E.g., ECF 45

¶¶ 37-40; ECF 283-30 at 7-11; ECF 283-9 at 169-171. Many of their other



6
 Plaintiffs also attempt to minimize the importance of Shelby County v. Holder that
held the coverage formula under Section 4 of the VRA unconstitutional. 570 U.S.
529 (2013). What directly follows from this is that the Florida jurisdictions that were
covered were covered unconstitutionally.

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allegations simply distort the past, e.g., ECF 45 ¶ 41 (mistaken voter purge), or

attempt to allude to a discriminatory dimension where there was none, ECF 45 ¶ 42

(adjusting early voting day). The historical background actually connected to the

law points to no intentional discrimination.

       Claims about high Black and Hispanic use of vote-by-mail ballots in 2020

similarly ask this Court to infer that the Florida Legislature changed the rules

because, during one election in the midst of a global pandemic, more people overall,

including Black and Hispanic voters, used vote-by-mail ballots; and that Blacks and

Hispanics in Florida form a monolithic voting bloc that votes against the political

party that currently has majorities in the Florida Legislature. See, e.g., ECF 45 ¶¶ 2-

3. Statements about minority party voters using drop boxes more than majority party

voters, see ECF 283-15 at 148-49 (noting 1.3 point difference in drop box use), also

prove inconsequential because “partisan motives are not the same as racial motives.”

Brnovich, 210 L. Ed. 2d at 785; see also Greater Birmingham, 992 F.3d at 1326-27

(noting “partisan reasons” fail to provide the requisite historical background for

racial intent).

       References to past cases also fail because, again, there is no demonstrated link

to the 2021 Law. Some of these cases failed to find racial animus, and others

included no discussion of racial discrimination claims at all. E.g., ECF 45 ¶¶ 7 n.3,

44-45; ECF 283-9 at 224-25, 232; ECF 283-30 at 42, 49-52.



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                    3.     Sequence of Events Leading to Passage and Any
                           Procedural and Substantive Departures.

      Plaintiffs must adduce evidence of racial discrimination in “the precise

circumstances surrounding the passage of the [challenged] law.” Greater

Birmingham, 992 F.3d at 1325. Arlington Heights tells us that “[t]he specific

sequence of events leading up to the challenged decision also may shed some light

on the decisionmaker’s purposes.” 429 U.S. at 267 (emphasis added). The word

“some” means that, even if this Court found significant evidence of unexplainable

procedural deviations, this factor alone cannot support a finding of intent. Plaintiffs

must prove that the policymakers had the impermissible intent. Id. That means “the

legislature as a whole.” Brnovich, 210 L. Ed. 2d at 785. But “determining the intent

of the legislature is a problematic and near-impossible challenge.” Greater

Birmingham, 992 F.3d at 1324. And the plaintiff must overcome a presumption that

the legislature acted in good faith. See Abbott v. Perez, 138 S. Ct. 2305, 2324 (2018).

      Additionally, because the legislature had “valid neutral justifications… for

[SB90]”—“combatting voter fraud, increasing confidence in elections, and

modernizing [Florida’s] elections procedures”—most of Plaintiffs’ remaining

evidence is irrelevant. Greater Birmingham, 992 F.3d at 1326-27. It does not matter

whether SB90 was passed, for example, “at the end of the… legislative session,”

after “truncated debate,” on a “strictly party-line vote,” or with “no black legislators”

voting for it. Id. Plaintiffs identify no relevant procedural irregularities. That


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opponents of SB90 complained about “the brevity of the legislative process” is not

the kind of allegation that can “overcome the presumption of legislative good faith.”

Abbott, 138 S. Ct. at 2328-29.

      In all events, Plaintiffs’ evidence fails to establish racial discrimination

because the alleged irregularities would have affected “all individuals” equally, not

some “identifiable minority group.” Rollerson v. Port Freeport, 2019 WL 4394584,

at *8 (S.D. Tex. Sept. 13). Plaintiffs “[n]otably” do not allege that those procedural

departures ever materialized into “substantive departures.” Greater Birmingham,

992 F.3d at 1326 n.39. The measures that ultimately passed mirror laws that exist

in other States, and Plaintiffs do not claim that these reforms would be illegal if they

were passed in, say, New York or Delaware.

      Regardless, for these two prongs of Arlington Heights, most of the Plaintiffs’

arguments can be attributed to changes made in response to a once-in-a-generation

pandemic. Cf. ECF 45 ¶¶ 2-3. For instance, SB90’s timing is not suspect because it

was enacted after the pandemic triggered a wave of election litigation and a dramatic

increase in absentee-by-mail ballots. It “should come as no surprise” then that

Florida would want to address voting laws relevant to this topic at this time. See

Inclusive Communities Proj., Inc. v. Heartland Cmty. Ass’n, Inc., 824 F. App’x 210,

220 (5th Cir. 2020).




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      Plaintiffs’ claim that the “strike all” amendment was unusual or “flawed,” see

id. ¶¶ 63, 67, is also not true. The Florida Legislature has frequently used the “strike

all” tool. In 2021, the Florida Legislature has used the tool 359 times on 260 bills,

i.e., on 8.4% of all bills during the 2021 Regular Session, and 440 times on 268 bills,

i.e., on 7.6% of all bills during the 2020 Regular Session.7 Indeed, prior to the 2021

and 2020 sessions, strike all amendments were commonly used by legislators in

Florida for convenience and efficiency purposes. See ECF 283-25 at 189-190; ECF

283-24 at 216.

      Statements made during political campaigns are irrelevant for similar reasons.

These statements—“remote in time and made in unrelated contexts”—“do not

qualify as contemporary statements probative of” the Florida Legislature’s motive

for passing SB90. DHS, 140 S. Ct. at 1916.

                    4.     Contemporaneous Statements of Key Legislators.

      Nor can Plaintiffs show discriminatory intent through statements of “key

legislators” “made contemporaneously” with the 2021 Law’s passage. Greater

Birmingham, 992 F.3d at 1322. Key legislators like Senate Sponsor Baxley are

7
  This Court may take judicial notice of public records. See Universal Express, Inc.
v. United States SEC, 177 Fed. App’x. 52, 53 (11th Cir. 2006) (unpublished). This
information is available from the Florida Legislature’s website at
https://www.flsenate.gov/Session/Bills/2021?chamber=both&searchOnlyCurrentV
ersion=True&isIncludeAmendments=False&isFirstReference=True&citationType
=FL%20Statutes&pageNumber=1 (last visited Nov. 11, 2021), using the search
terms “strike all” and “delete all” for “All Bill Versions” in both “Senate and House”.


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alleged to have said that “[w]e are doing this bill because it becomes clear as you

look across the country that there is a lot of confusion from many people on different

fronts.” ECF 59 ¶ 91. Senator Baxley is also alleged to have said that the 2021 Law

was needed to address “some issues going on around the country, different places,

and we want to be proactive and prevent things from going awry, rather than waiting

to have some kind of debacle to recover from.” Id. (alteration omitted). Statements

like these demonstrate a proactive approach to addressing issues—not an intent to

discriminate. After all, the Florida Legislature “was not obligated to wait for

something similar to happen closer to home.” Brnovich, 210 L. Ed. 2d at 783. The

statements simply evidence the State’s commitment to the “integrity of its election

procedures”—to minimizing voter fraud and protecting voters against undue

influence from third parties. Brnovich, 210 L. Ed. 2d at 762-63, 777, 782-83.

      Plaintiffs’ expert also asserts that legislators who supported SB90 made

contemporaneous statements consistent with “racial resentment” during the

legislative session by using terms like “responsibility” and “lazy” in reference to

voters failing to vote despite having four different voting methods and ample time

available to them in Florida. See ECF 283-15 at 185-192. However, when asked

whether racial resentment can be disentangled from principles of individualism,

initiative, and personal responsibility traditionally associated with conservatism,

Plaintiffs’ expert made conclusory assertions that they can be, but failed to articulate



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a clear principle, see id. at 185-194, and ultimately acknowledged she did not know

what was in that legislator’s head at the time he said those words. See id. at 198-99.

      Again, however, what matters is the intent of “the legislature as a whole.”

Brnovich, 141 S. Ct. at 2350. Legislators “who vote to adopt a bill are not the agents

of the bill’s sponsor or proponents,” id., and this Court cannot treat the intent of

individual legislators “as the legally dispositive intent of the entire body of the

[Florida] legislature on [SB90],” Greater Birmingham, 992 F.3d at 1325. Defendants

fail to point to any statements that would be sufficient to carry this burden.

                    5.     Foreseeability and Knowledge of Disparate
                           Impact.

      Plaintiffs are also unable to demonstrate foreseeability or knowledge of a

disparate impact. This inquiry requires that a disparate effect be both “foreseeable”

and “anticipated.” Columbus Bd. of Educ. v. Penick, 443 U.S. 449, 464-65 (1979).

Importantly, “[d]isparate impact and foreseeable consequences, without more, do

not constitute a constitutional violation.” Id. at 464.

      As an initial matter, federal law gives Florida ample leeway to revise election

laws to boost voter confidence; to streamline elections by promoting uniformity, to

reduce the burden on election officials to prevent improper interference, political

pressure, or intimidation; and to make it hard to cheat. These purposes are race

neutral and entirely legitimate. See Brnovich, 141 S. Ct. at 2349-50 (preventing

fraud, voter intimidation, and undue influence); Crawford v. Marion Cty. Election


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Bd., 553 U.S. 181, 191-97 (2008) (improving procedures, preventing fraud, and

promoting confidence).

      Plaintiffs’ objection that any concern with fraud was tenuous given the lack

of evidence of voter fraud in the 2020 election cycle does not survive Brnovich. 141

S. Ct. at 2348. More broadly, “concerns regarding fraud” do not morph from a

legitimate state interest into “a facade for racial discrimination” whenever the

legislature fails to cross some imaginary evidentiary threshold. DNC v. Reagan, 904

F.3d 686, 719 (9th Cir. 2018). States can pass election reforms to prevent fraud

without “any evidentiary showing,” Common Cause/Ga. v. Billups, 554 F.3d 1340,

1353 (11th Cir. 2009) (emphasis added), and can act prophylactically to prevent

fraud “without waiting for it to occur and be detected within its own borders,”

Brnovich, 141 S. Ct. at 2348. Both the Carter-Baker Commission and the Supreme

Court have already confirmed, after all, that “[f]raud is a real risk,” especially with

absentee voting. Id. at 2347-48. Even if all these concerns with fraud were

“mistaken,” Plaintiffs cite no evidence to suggest they aren’t “sincere.” Brnovich,

141 S. Ct. at 2350. In any case, Plaintiffs simply ignore Florida’s “independent”

interest in restoring “public confidence in the integrity of the electoral process.”

Crawford, 553 U.S. at 197.

      Lastly, discrimination is not a plausible conclusion from Plaintiffs’ evidence

in light of obvious alternative explanations. The most obvious alternative



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explanation is that the legislature thought SB90 was good policy. Plaintiffs’ evidence

does nothing to pierce the presumption that these statements and findings were made

in good faith. Indeed, legislators can have “a serious legislative debate on the

wisdom of early mail-in voting” without incurring liability for intentional

discrimination. Brnovich, 141 S. Ct. at 2349-50. Florida cannot be liable for

expressing the same concerns over absentee-voting fraud that both the Supreme

Court and the Carter-Baker Commission have credited.

      The most telling indication that SB90 is about policy, not racial

discrimination, is the fact that Plaintiffs challenge only portions of the bill. If racial

discrimination were the motivation behind SB90, then that motivation would taint

the entire bill. But Plaintiffs refuse to go that far, because they know that many

provisions of SB90 make it easier to vote. See ECF 283-1¶¶ 8-16. For example,

SB90 requires all supervisors of elections to provide drop boxes and set their

locations at least 30 days before an election. Id. ¶ 33. It also allows anyone to return

up to two absentee ballots on behalf of other voters (and allows anyone to return an

unlimited number for their immediate family members). Id. ¶ 40. If Plaintiffs are

right that minority voters suffer longer wait times and prefer to vote absentee, then

it “raises the question”: “‘why would a racially biased legislature’” adopt reforms

that make these options easier? Greater Birmingham, 992 F.3d at 1324. Plaintiffs’

evidence provides no answers.



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      While SB90 surely reflects the legislature’s sincere views about policy,

another explanation for it besides race—partisanship—is just as obvious. Section 2

addresses discrimination “on account of race or color,” 52 U.S.C. §10301(a), and

“partisan motives are not the same as racial motives,” Brnovich, 141 S. Ct. at 2349;

see Rucho v. Common Cause, 139 S. Ct. 2484, 2503 (2019) (“securing partisan

advantage” is a “permissible intent”). Yet Plaintiffs’ own evidence alleges partisan

motivations throughout—from one expert affirming that partisanship shapes beliefs

about voter confidence, ECF 283-15 at 110, to another expert acknowledging that

“race and partisanship are closely connected together” such that motivations are

difficult to disentangle. ECF 283-9 at 93.      Every bit of Plaintiffs’ evidence

implicating race is equally consistent with partisanship; Plaintiffs never make any

effort to disentangle the two; and Occam’s razor suggests that partisan motives are

the predominant explanation. Cf. Luft v. Evers, 963 F.3d 665, 671 (7th Cir. 2020).

      Plaintiffs’ allegations then amount to little more than legal conclusions–

claims of discriminatory impacts without an explanation or quantification of those

impacts. E.g., ECF 45 ¶¶ 135, 194; ECF 283-30 at 61 (asserting without support

that SB90 “will plainly affect Black and Hispanic voters far more than white voters,

a fact the legislature and governor had to know”).




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        Additionally, Plaintiffs’ failure to show that the Florida Legislature knew

about the disparate impacts on minority voters is also unsurprising because the

evidence now shows impacts to be either unquantifiable or de minimis at best.8

        Divining the legislature’s purported “knowledge” based on arguments and

testimony provided by opponents of SB90 does not solve Plaintiffs’ problem. “The

Supreme Court has… repeatedly cautioned… against placing too much emphasis on

the contemporaneous views of a bill’s opponents”; the “speculations and accusations

of… opponents simply do not support an inference of the kind of racial animus

discussed in… Arlington Heights.” Butts v. N.Y.C., 779 F.2d 141, 147 (2d Cir.

1985). Plaintiffs’ reliance on statements from those opposing the 2021 Law’s

passage, see ECF 45 ¶¶ 119-124, are thus unavailing; legislators are not required to

take the word of their political opponents at face value especially when those

opponents presented no objective evidence of a foreseeable and anticipated impact.

See Brnovich, 210 L. Ed. at 785. Section 2 does not give the opponents of election

reform a heckler’s veto; a bill’s supporters can simply disbelieve the arguments and

predictions of the other side. Cf. Brnovich, 210 L. Ed. at 784-85; Greater

Birmingham, 992 F.3d at 1327 (refusing to infer that the legislature had

“foreknowledge” of disparate impacts because its proffered justifications were

legitimate).


8
    See ECF 283-9 at 136-37, 159, 191, 220; ECF 283-15 at 147-150.

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      Additionally, a legislature’s knowledge that a law will have disparate impacts

is not intentional discrimination. See Friends of Lake View Sch. Dist. Inc. No. 25 of

Phillips Cty. v. Beebe, 578 F.3d 753, 761-62 (8th Cir. 2009). Intentional

discrimination means the legislature passed a particular law “at least in part ‘because

of,’ not merely ‘in spite of,’ its adverse effects upon an identifiable group.”

McCleskey, 481 U.S. at 298. Plaintiffs’ evidence establishes nothing like that—an

allegation that would be implausible anyway given the States’ “wide discretion” in

crafting election laws and Florida’s “legitimate reasons” for choosing these reforms.

Id. at 298-99. As the Supreme Court explained in Brnovich, virtually every election

reform can cause “predictable disparities” on minorities, given preexisting

disparities in “employment, wealth, and education.” 141 S. Ct. at 2339. Yet Section

2 is not designed to “make it virtually impossible” to pass reforms. Id. at 2343.

      Because Plaintiffs lack evidence regarding foreseeability, anticipation, or

knowledge of disparate impacts, these factors also weigh heavily in favor of

Defendants.

                    6.    Availability of Less Discriminatory Alternatives.

      While Plaintiffs make passing statements in their amended complaint alleging

the existence of less discriminatory alternatives and ask for the pre-2021 status quo,

see ECF 45 ¶¶ 138, 196, 220, they fail to put forward any evidence capable of

showing that the 2021 Law is discriminatory in the first instance, much less why the



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status quo was less discriminatory. See Greater Birmingham, 992 F.3d at 1327

(“[W]ithout proof of discriminatory intent, a generally applicable law with disparate

impact is not unconstitutional.”).

      Furthermore, a State is not required to show that “a less restrictive means

would not adequately serve the State’s objectives.” Cf. Brnovich, 210 L. Ed. 2d at

781. The failure to adopt Plaintiffs’ preferred solution does not mean that the

Legislature failed to adopt alternatives that lessened any potentially discriminatory

impact. See Greater Birmingham, 992 F.3d at 1327. For example, the Florida

Legislature provided multiple ways for a voter to provide sufficient identification to

receive a vote-by-mail ballot. See id. (a voter ID law that allows the use of many

forms of ID, including options for a free ID does not show a failure to consider less

discriminatory alternatives); see also Fla. Stat. § 101.62 (allowing a voter to provide

a driver license number, an ID number, or the last four digits of their Social Security

number).9

      Importantly, the State Legislature considered three major iterations of the law

that became the 2021 Law, and ultimately chose the least restrictive version of those

three. For instance, earlier versions of the bill would not have grandfathered in those

voters who made vote-by-mail requests in 2020 (thereby requiring them to make



9
 Voters on Medicare and Medicaid are already required to have the required ID’s.
ECF 283-20 at 40:23-41:15.

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their next request in 2022 rather than 2024), see ECF 283-24 at 98; and the final bill

opted to require drop boxes instead of banning them altogether, subject to the in-

person monitoring requirement, see ECF 283-23, Exh. 3 at 4. Many Supervisors who

had voiced opposition to earlier versions of the bill ultimately found the final version

to be much more palatable after its development through the legislative process. See,

e.g., ECF 283-25 at 188; ECF 283-24 at 98-99 (Supervisor Earley found the bill

“much more problematic in the beginning”); id. at 189 (“[C]ertainly my biggest

concerns [with the bill], I think were resolved.”); ECF 283-23 at 87 (agreeing that

the final version of SB90 was “more favorable to voters” than earlier iterations).

      The evidence demonstrates that the legislature considered the Supervisors’

input and that their input ultimately resulted in a bill that was less restrictive. See

ECF 283-21 at 25-28 (noting that Miami-Dade Board of County Commissioners’

resolution directed their lobbyist to oppose a provision of SB90 that was later

removed from final version of bill); ECF 283-23 at 86-87; ECF 283-28 at 42, 143-

44. Lake County Supervisor Alan Hays, who was the chairman of the Florida

Supervisors of Elections legislative committee during the relevant time period,

testified that he was actively involved in the legislative process, had “frequent

interchanges with the legislators” throughout the evolution of the bill, and that SB90

became “significantly better” as a result of his involvement and that of the Florida

state association of Supervisors of Elections (“FSE”). ECF 283-25 at 37, 44, 140,



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187. In fact, despite opposing it initially, Supervisor Hays supported the final

version of the bill. See id. at 43-44, 188.

       In sum, because evidence adduced cannot establish intentional racial

discrimination under Arlington Heights, this Court should thus grant summary

judgment.

          C.     Defendants are entitled to summary judgment on
                 Plaintiffs’ discriminatory effect claims under Section 2 of
                 the Voting Rights Act.

       Plaintiffs’ discriminatory effect claims under Section 2 of the VRA fare no

better.10 The Act provides in pertinent part that “[n]o voting qualification or

prerequisite to voting or standard, practice, or procedure shall be imposed or applied

by any State…in a manner which results in a denial or abridgment of the right…to

vote on account of race or color.” 52 U.S.C. § 10301(a) (emphasis added). The

discriminatory result “is established if, based on the totality of circumstances, it is

shown that” the relevant group “ha[s] less opportunity than other members of the

electorate to participate in the political process and to elect representatives of their

choice.”11     Id. § 10301(b) (emphasis added). The Supreme Court recently


10
   In fact, it is an open question whether there exists “an implied cause of action
under §2” in the first instance. Brnovich, 210 L. Ed. 2d at 786 (Gorsuch, J.
concurring). For the purposes of this motion, and this motion alone, Defendants
assume that one exists.
11
   Initially, Plaintiffs fail to show how the 2021 Law keeps them from electing
candidates of their choice. This is fatal. See Greater Birmingham, 992 F.3d at 1329.


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emphasized two tasks critical for the “totality of circumstances” analysis: (1)

disentangling the “usual burdens of voting” from unusual burdens, Brnovich, 210 L.

Ed. 2d at 772-73, 778-79, 781, and then (2) weighing those burdens against the

State’s interests, recognizing that the Act “does not require a State to show that its

chosen policy is absolutely necessary or that a less restrictive means would not

adequately serve the State’s objectives.” Id. at 781.

      In assessing the burden, the Supreme Court also stated that “any circumstance

that has a logical bearing on whether voting is ‘equally open’ and affords equal

‘opportunity’ may be considered.” Id. Considerations included (1) “the size of the

burden imposed by the challenged voting rule,” (2) “the degree to which a voting

rule departs from what was standard practice when Section 2 was amended in 1982,”

(3) “[t]he size of any disparities in a rule’s impact on members of different racial or

ethnic groups,” (4) “the opportunities provided by a State’s entire system of voting

when assessing the burden imposed by a challenged provision,” and (5) “the strength

of the state interests served by a challenged voting rule.” Id. at 772-74.

      Here, Plaintiffs lack sufficient evidence to support their allegations of

discriminatory effect that could satisfy the U.S. Supreme Court’s test in Brnovich.

Because these allegations are ultimately speculative and conclusory, Defendants are

entitled to summary judgment on Plaintiffs’ Section 2 claim.

                    1.    The Size of the Burden Imposed.



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          Disentangling the “usual burdens of voting” from unusual burdens begins

with an assessment of the “size of the burden.” Id. at 772-73. This “highly relevant”

size inquiry looks at how voters are burdened (from the minor inconvenience of

walking to the mailbox or the significant burden of being required to enter, for

example, a precinct in a gated community that excludes them) and how many voters

are burdened (a small subset in one county or a large portion statewide). Id.; see

also id. at 773 n.11. But Plaintiffs fail to provide evidence concerning both

qualitative and quantitative measures of magnitude sufficient to show discriminatory

effect.

          The Plaintiffs’ qualitative evidence clearly does not pass muster. For example,

Plaintiffs’ expert witness contended that requiring a voter to provide a Florida

driver’s license number, ID number, or the last four digits of their Social Security

Number presents something more than a usual burden of voting for the voter. ECF

283-9 at 61-62 (alleging that the simple fact that one must “identify yourself” to

request a ballot is cause for “concern”). There are no facts alleging why that would

be the case, beyond an inchoate belief that individuals should not “have to provide

any identification” to obtain an absentee ballot. See id. at 61. Beyond that, Florida’s

requirement that a voter provide some information to affirm their identity to cast an

absentee ballot is well within the norm. ECF 283-1¶ 60.




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       Similarly, Plaintiffs contend that the drop box standard imposes more than the

usual burdens of voting. See ECF 283-9 at 176-77 (alleging that the drop box

standard makes voting harder because “it’s placing a burden on” the Supervisor’s

employees, focusing exclusively on the potential for a $25,000 fine). This sounds

more like an issue of budgetary constraint and institutional capacity for the

Supervisors than an unusual burden on the voters. Regardless, if “[h]aving to

identify one’s own polling place and then travel there to vote does not exceed the

usual burdens of voting,” Brnovich, 210 L. Ed. 2d at 778, then Plaintiffs’ allegation

here cannot be sufficient to prevail on their discriminatory effect claim. This is

especially so when the totality of circumstances is considered—voters may still vote

through other means besides absentee voting, including early voting or voting in

person on election day; a voter who is unable to drop off their absentee ballot at a

drop box during early voting hours can still mail in the absentee ballot through the

U.S. Postal Service. It is thus clear that these requirements are not unusually

burdensome at all.12 What’s more, Florida is one of only ten states that requires

voters be given a drop box as an option. ECF 283-1¶ 35; see also id. at 19, Table 3.

The majority of states (27 in total), prohibit the use of drop boxes at all. Id.


12
   As the “opportunities provided” by Florida’s election system are part of the
assessment of the “size of the burden imposed” by that system, the factors will be
considered together. See Brnovich, 210 L. Ed. 2d at 774 (“[C]ourts must consider
the opportunities provided by a State’s entire system of voting when assessing the
burden imposed by a challenged provision.”).

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      Plaintiffs’ quantitative evidence is insufficient as well. The Plaintiffs’ experts

assert variations of the following: “SB90 is part of a pattern of racially

discriminatory voting laws and practices designed to roll back practices that make it

easier to vote when they are used disproportionately by Black Floridians[.]” ECF

283-15 at 14-15; see id. at 122. While some of the Plaintiffs’ experts analyze

disparities between different races and other demographic groups, they fail to

analyze the magnitude of any disparities. See ECF 283-12 at 76-77 (confirming that

the purpose of expert report was “not to quantify that disproportionate impact, just

to state that [he] believe[s] it will exist”). Thus, for those that do cite some

differences across racial groups regarding use of drop boxes and absentee voting,

Plaintiffs fail to provide evidence that these are of any practical significance. Cf.

ECF 283-15 at 126 (expert acknowledged she is uncertain how much of Black

voters’ increased use of vote-by-mail “is explained by the pandemic”).

                   2.     The Degree to which the Rules Depart from Standard
                          Practice in 1982.

      If Plaintiffs had demonstrated with specificity the size of the burdens imposed,

then the “benchmark” against which those burdens should be judged is Florida’s

1982 election code, since that was the legislation in effect when Congress last

amended Section 2 of the VRA. Brnovich, 210 L. Ed. 2d at 774; id. at 777 n.15.

under that “benchmark,” Florida’s 2021 Law easily passes muster.




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      Like most states, in 1982 Florida allowed only in-person voting, Fla. Stat.

§ 101.011 et seq. (1973), with limited-excuse absentee voting, Fla. Stat. § 101.011

et seq.; see Fla. Stat. Ann. § 97.063 (1982).

      Since 1982, Florida has made voting more convenient through the addition of

mandatory and discretionary early voting days. Fla. Stat. § 101.657. Forty years

ago, an early voting option was not even codified in law; today, supervisors are

required to offer at least eight early voting days, with the provision of additional

days left to the discretion of the supervisor. ECF 283-1at 13-16. In addition to

permitting voting in-person on Election Day and during the mandatory (and

additional discretionary) early voting period, Florida has since 1982 greatly

expanded access to vote-by-mail ballots. Specifically, before 1996, Floridians

hoping to use the convenience of vote-by-mail needed to have their ballots notarized

or signed by two witnesses who themselves were registered to vote in Florida; in

1996, the Florida Legislature lowered the requirement to a single witness signature,

and in 2004 repealed the witness requirement altogether. Ch. 2004-232, § 1, Laws

of Fla.; Ch. 96-57, § 4, Laws of Fla. Id. Only since 2001 have Floridians been able

to vote-by-mail without a statutorily recognized justification for doing so. Ch. 2001-

40, § 53, Laws of Fla. Now, no excuse vote-by-mail without the need for notaries

or witnesses is permitted and the use of drop boxes (first used during the 2020

election cycle) are also now permitted. But safeguards for the vote-by-mail process



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must keep pace with these innovations. After all, as this Court previously

recognized, Florida has a “rich history of absentee-ballot fraud, including at least

two elections in which courts invalidated every single absentee ballot because of

widespread fraud.” Fla. St. Conf. of NAACP v. Browning, 569 F. Supp. 2d 1237,

1251 (N.D. Fla. 2008); see also ECF 283-21 at 36-37 (confirming cases of

individuals casting ballots in more than one jurisdiction and instances in Miami-

Dade where 3PVROs altered the information provided by voters on their

applications without their consent); see also ECF 283-23 at 106 (confirming cases

of voter fraud referred to law enforcement in Hillsborough County).

      Thus, the 2021 Law imposes minimal, if any, burdens when compared to

voting as it existed in Florida in 1982. The sections being challenged—together with

the other twenty-seven sections of the 2021 Law—work to ensure that voting

remains safe and accessible in the State. Importantly, any departures from standard

practice in 1982 benefit the very groups and voters that Plaintiffs purport to

represent. Plaintiffs are unable to demonstrate otherwise; they instead measure the

2021 Law against the improper baseline of 2020, which is an outlier of an election

held during a global pandemic. See, e.g., ECF 283-4at 4-5 (criticizing Herron expert

report for extrapolating from rates of Black VBM voting in 2020 as if that year was

a reasonable baseline for predicting the future).

                   3.     The Size of any Disparity in a Rule’s Impact on Members
                          of Different Racial or Ethnic Groups.


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      The size of any disparity is an important touchstone in the analysis because

the “mere fact that there is some disparity does not necessarily mean that a system

is not equally open [or] does not give everyone an equal opportunity to vote.”

Brnovich, 210 L. Ed. 2d at 774. Here, just as Plaintiffs failed to demonstrate the size

of any burden under the first factor, they have failed to provide evidence of any facts

that go to the extent of any disparity. ECF 283-12 at 55-56 (“I do not have specific

numbers I can cite to.”); ECF 283-9 at 136-37 (Dr. Austin conceded she could not

“predict approximately how many people would be impacted” by the vote-by-mail

request provision). Simply alleging that there is a disparity is inadequate to create an

issue of material fact regarding discriminatory effect. A prediction discerned from

historical trends is not a cognizable injury.

                    4.     The Strength of the State Interests Served by a
                           Challenged Voting Rule.

      Because every voting rule imposes some burden, it is important to consider

the reason for the law in the first instance. Brnovich, 210 L. Ed. 2d at 774. “Rules

that are supported by strong state interests are less likely to violate §2.” Id. “[S]trong

state interests” include, but are in no way limited to, preventing voter fraud,

“[e]nsuring that every vote is cast freely, without intimidation or undue influence,”

id., and maintaining the integrity of the election system as a whole, including

confidence in the system. Id.



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       Strong interests are implicated here. The State has a per se interest in

preventing voter fraud because “a State may take action to prevent election fraud

without waiting for it to occur and be detected within its own borders.” Id. at 783.13

Because of that interest, the Florida Legislature “was not obligated to wait for

something closer to home” before enacting the 2021 Law being challenged here. Id.

The Carter-Baker Commission’s report relied on by the U.S. Supreme Court

explains why. See supra 20-21. The 2021 Law goes directly to the heart of many

issues presented in the Commission. The non-solicitation provision limits the

potential for third parties to pressure or intimidate voters into making certain voting

selections. And the voter identification and third-party voter registration rules are

focused on guarding against the kind of election fraud the Commission warned

against. All of the provisions in the 2021 Law challenged by Plaintiffs further

Florida’s important interests in, among other things, election integrity, preventing

voter fraud, and promoting uniformity, efficiency and confidence in the electoral

system as a whole. In short, the 2021 Law was a legitimate use of state power to

further well-known and well-accepted state interests. These interests are amply

supported. See, e.g., Matthews Dep., ECF 283-29 at 49, 90-91 (testifying that drop



13
   That said, there is, as this Court has previously found, evidence of election fraud
in Florida. See Browning, 569 F. Supp. 2d at 1251; ECF 283-21 at 36-37; ECF 283-
23 at 106; see also ECF 283-6 at 19-29 (detailing the extensive recent history of
absentee ballot voter fraud in Florida).

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box standard “ensure[s] the security of those boxes” through in-person monitoring);

id. at 58 (vote-by-mail request provision is “just another layer of security” akin to

“multi-factor authentication”); id. at 160 (explaining that “whole point” of non-

solicitation provision is to ensure “those who come to vote are not harassed in any

way that might be trying to influence them”).

      In sum, the Plaintiffs have failed to put forward facts or evidence capable of

supporting their discriminatory effect claim under the VRA, therefore summary

judgment is warranted.

         D.     The drop box, vote-by-mail request, and non-solicitation
                provisions pass the Anderson/Burdick test.

                   1.     Need to Quantify a Burden and Show That It
                          Outweighs the State’s Interests.

      The U.S. Constitution “provides that States may prescribe ‘[t]he Times, Places

and Manner of holding Elections….’” Burdick, 504 U.S. at 433. The

Anderson/Burdick test is therefore supposed to make it more difficult for federal

courts to overturn state election laws, not less so. The whole point of these cases is

that, although voting is a fundamental right, most election rules are not subject to

strict scrutiny. Burdick, 504 U.S. at 433. “States—not federal courts—are in charge

of setting [election] rules,” New Ga. Proj. v. Raffensperger, 976 F.3d 1278, 1284,

1279-80 (11th Cir. 2020), and rules that govern how, when, and where voters must

vote are “‘inevitabl[e]’” and “necessar[y],” and “‘must be…substantial’” if elections



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“‘are to be fair and honest’” and “‘orderl[y].’” Timmons v. Twin Cities Area New

Party, 520 U.S. 351, 358 (1997); Burdick, 504 U.S. at 433. Contrary to Plaintiffs’

position, “no one is ‘disenfranchised’” if they fail to heed reasonable time, place,

and manner voting rules. New Ga. Proj., 976 F.3d at 1282. Any inability to vote is

“not caused by [the rules], but by [voters’] own failure to take timely steps to

[comply].” Rosario v. Rockefeller, 410 U.S. 752, 758 (1973).

      In sum, Anderson/Burdick requires Plaintiffs to satisfy a two-step inquiry,

with each step imposing a heavy burden. First, Plaintiffs must prove that the

challenged laws inflict a cognizable burden on their rights and quantify the burden’s

severity. Timmons, 520 U.S. at 358. The “extent of the burden… is a factual question

on which the [plaintiff] bears the burden of proof,” Democratic Party of Hawaii v.

Nago, 833 F.3d 1119, 1124 (9th Cir. 2016), and the plaintiff must “direct th[e] Court

to… admissible and reliable evidence that quantifies the extent and scope.”

Common Cause/Ga. v. Billups, 554 F.3d 1340, 1354 (11th Cir. 2009). Second,

Plaintiffs must show that the burden outweighs the State’s proffered interests.

Timmons, 520 U.S. at 358. Only when an election law “subject[s]” voting rights “to

‘severe’ restrictions” does a court apply strict scrutiny. Burdick, 504 U.S. at 434.

Election laws that “impose[] only ‘reasonable, nondiscriminatory restrictions’” are

“‘generally’” justified by “‘the State’s important regulatory interests.’” Id. There is




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no constitutional right to be free from “the usual burdens of voting.” Crawford, 553

U.S. at 198.

      These steps must be rigorously applied to prevent Anderson/Burdick from

“trading precise rules and predictable outcomes for the imprecision and

unpredictability of how the judicial-assignment wheel turns.” Daunt v. Benson, 956

F.3d 396, 425 (6th Cir. 2020) (Readler, J., concurring). The test is not an invitation

for courts to simply weigh “whether a rule is beneficial, on balance”; that “political

question” must be resolved by legislators, not judges. Luft, 963 F.3d at 671. The

Anderson/Burdick framework should almost always favor upholding State election

laws because “[o]ur founding charter never contemplated that federal courts would

dictate the manner of conducting elections.” Jacobson, 974 F.3d at 1269.

      Four additional points bear mention.

      First, Plaintiffs’ burden is especially high here because they must prove that

the 2021 Law violates Anderson/Burdick on its face. Plaintiffs’ claim is facial

because they ask this Court to invalidate the challenged provisions across the board,

not on a case-by-case basis. See ECF 160 ¶¶ 179-80 (alleging that the non-

solicitation provision is “unconstitutionally overbroad” and deserves “facial

invalidation”); see Crawford, 553 U.S. at 189; League of Women Voters of Minn.

Educ. Fund v. Simon, 2021 WL 1175234, at *6 (D. Minn. Mar. 29).




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      Because Plaintiffs challenge the 2021 Law on its face, Plaintiffs “bear a heavy

burden of persuasion.” Crawford, 553 U.S. at 200. They must prove that “‘no set

of circumstances exists under which the Act would be valid,’ i.e., that the law is

unconstitutional in all of its applications.” Wash. State Grange v. Wash. State

Republican Party, 552 U.S. 442, 449 (2008). This standard is not met when “the

statute has a plainly legitimate sweep.” Crawford, 553 U.S. at 202. Thus, even a

showing that a provision imposes “an unjustified burden on some voters” cannot

justify invalidating “the entire” provision. Id. at 203. Plaintiffs’ arguments about

“burdens tied to the peculiar circumstances of individual voters”—essentially all

their arguments—are thus irrelevant for purposes of their facial Anderson-Burdick

claim. League of Women Voters of Minn., 2021 WL 1175234, at *9.

      In fact, burdens that do not affect voters generally are never relevant under

Anderson/Burdick.14 See ECF 107-1 at 10-12; McDonald v. Board of Election

Comm’rs, 394 U.S. 802 (1969) (holding that voters may be treated differently so

long as they are not “absolutely prohibited from exercising the franchise.”).

      Second, when assessing whether a law burdens the right to vote, courts must

consider “the landscape of all opportunities that [the State] provides to vote.” Mays,



      14
         As the Court rejected the broader argument at the motion-to-dismiss stage,
(ECF 274 at 38-40) Defendants raise a narrower point about facial challenges.
Defendants reserve the right to pursue arguments relating to McDonald v. Board of
Election Comm’rs, 394 U.S. 802 (1969) for appeal. See ECF 92-1 at 7-10.

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951 F.3d at 785. In New Georgia Project, for example, the Eleventh Circuit faulted

the district court for not considering how the “numerous avenues” for voting in

Georgia “mitigate the…impact” of the challenged provision. 976 F.3d at 1281-82.

Florida has provided, if anything, more avenues. Florida’s “many… provisions that

make it easy to vote cut in its favor” under Anderson/Burdick. Luft, 963 F.3d at 675.

And those provisions, considered as a whole, mean that strict scrutiny cannot

possibly apply because no one in Florida is “totally denied a chance to vote” by the

2021 Law. Mays, 951 F.3d at 787.15

      Third, Plaintiffs cannot get around the defects of their Anderson/Burdick

claim by asserting a “cumulative impact” theory—i.e., arguing that the challenged

provisions are constitutional in isolation but together constitute a severe burden.

Initially, the challenged provisions are all reasonable, nondiscriminatory regulations

of the kind that Anderson/Burdick deems perfectly constitutional. Adding them

together is just summing zeroes. Moreover, the challenged provisions do not

cumulate, legally or logically. In any given election, a voter can vote using only one

method. A person who wants to vote early in-person is not affected by a regulation

that affects VBM; a person who wants to wait in line on election day is not affected

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        In fact, mail voting regulations do not implicate the right to vote at all. See
ECF 92-1 at 7-10; McDonald, 394 U.S. at 807. Because this Court rejected that
argument at the motion-to-dismiss stage, Defendants are raising a narrower point
about how the Court must consider all the ways that Floridians can vote.
Defendants reserve their broader argument for appeal.


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by the regulation of drop boxes; and so on. The only burdens that could possibly

cumulate are burdens that affect the same method of voting, and Plaintiffs identify

precious few of those. Thus, a “cumulative impact” theory cannot justify the relief

that Plaintiffs seek. If the unconstitutionality derives only from the provisions’

cumulative force, then the defect should be remedied by invalidating only one of the

challenged provisions. Otherwise, the Court would be granting Plaintiffs relief

beyond that necessary to remedy any injury. See Ayotte v. Planned Parenthood of

N. New England, 546 U.S. 320, 328 (2006). And in any event, if every challenged

provision must be invalidated to remedy the constitutional problem, then Plaintiffs

necessarily lose because they lack standing to challenge the ban on ballot-harvesting,

ECF-249, one of the provisions that they identified as contributing to the cumulative

effect.

          Fourth, on the other side of the scale, Anderson/Burdick treats the State’s

interests as a “legislative fact” so long as they are reasonable. Frank v. Walker

(Frank I), 768 F.3d 744, 750 (7th Cir. 2014). States need not submit “any record

evidence in support of [their] stated interests.” Common Cause/Ga., 554 F.3d at

1353 (emphasis added); Greater Birmingham Ministries, 992 F. 3d at 1334. States

can rely on “post hoc rationalizations,” can “come up with [their] justifications at

any time,” and have no “limit[s]” on the type of “record [they] can build in order to




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justify a burden placed on the right to vote.” Mays v. LaRose, 951 F.3d 775, 789 (6th

Cir. 2020).

      Relatedly, States can pass election reforms to prevent fraud without compiling

concrete evidence of past fraud—let alone concrete instances of fraud in their State.

States can act prophylactically to stop fraud before it starts. See Brnovich, 141 S.

Ct. at 2348 (“[I]t should go without saying that a State may take action to prevent

election fraud without waiting for it to occur and be detected within its own

borders.”); Munro v. Socialist Workers Party, 479 U.S. 189, 195 (1986). States can

rely on instances from other jurisdictions, court decisions, general history, or

common sense. Common Cause/Ga., 554 F.3d at 1353; Frank I, 768 F.3d at 750.

The U.S. Supreme Court has held that the “risk of voter fraud” is “real” and that “the

prevention of fraud” is a “strong and entirely legitimate state interest.” Crawford,

553 U.S. at 194, 196; Brnovich, 141 S. Ct. at 2348, 2340.

      Nor is fraud prevention the only interest that can justify election reforms.

Brnovich, 141 S. Ct. at 2348. States can act to reduce the risk of “pressure and

intimidation.” Id. States also have a legitimate interest in “improv[ing] and

moderniz[ing] election procedures” that they believe are “antiquated” or

“inefficient.” Id. at 191. Promoting “orderly administration” and decreasing “voter

confusion” are also legitimate state interests, Brnovich, 141 S. Ct. at 2345, as is the

“independent” interest in protecting election “‘integrity’” and restoring “voter



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confidence,” which in turn “encourages citizen participation in the democratic

process.” Id. at 197.

                    2.    Plaintiffs’ Inability to Quantify Burdens is Fatal.

      Plaintiffs rely on expert reports to establish that a burden exists. That work is

flawed. Plaintiffs’ experts concede that they never quantified the burdens. This

failure to quantify the burdens is fatal. Without some attempt at quantification, this

Court can neither judge the alleged burdens against the pre-2021 Law baseline nor

balance the burden against the State’s interests.

      First, Plaintiffs’ experts have relied upon a number of assumptions in their

reports that are not supported by any identified evidence. For example, several of

their experts assume ipso facto that the 2021 Law was intended to reduce Black and

Hispanic voting rates given that turnout for those groups was elevated in 2020 but

provide no evidence supporting that proposition. ECF 283-4at 6 (analyzing Herron

report); ECF 283-9 at 180 (explaining that while legislators did not express

discriminatory intent in passing the 2021 Law, she considered the absence of

evidence meaningful). Others present data, such as the fact that the ballots of Black

voters were rejected at a higher rate than whites in 2000, without exploring plausible

non-discriminatory reasons. ECF 283-4at 9. These experts extrapolate extensively

from 2020 voting trends, when data from other non-pandemic years is likely more

relevant. Id. at 6 (noting that Black voters were “significantly less likely” to have



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another person deliver their ballot in 2008). Experts need to justify the analytical

choices they make; these experts have not.

      In addition to Plaintiffs’ experts’ methodological flaws, they also failed to

quantify the alleged burden that the 2021 Law imposes on Florida voters. Dr. Burton

refused to speculate on the extent of the law’s effect, claiming that he was “not asked

to quantify the extent of that impact.” ECF 283-12 at 67-68. Although Dr. Herron

alleged that the provisions of the 2021 Law challenged here raised the cost of voting

in Florida, he refused to quantify the extent of that effect, calling it “a question for

the court.” ECF 283-13 at 63-65. Simply alleging the directionality of a change is

not enough when courts also require a demonstration of the severity of the alleged

burden.    Given that the extent of the burden is an essential component of

Anderson/Burdick, this error is fatal.

                    3.     The State’s Interests Are Substantial.

      While Plaintiffs have provided little, if anything, to balance for purposes of

Anderson/Burdick, the State has much to support the 2021 Law.

      As Director of the Florida Division of Election, Maria Matthews, states in her

declaration, each of the provisions at issue furthers the State’s interests. See ECF

283-31. Specifically, Matthews testified that the “main focus” of the drop box

standard “was to ensure the security of those boxes” by providing for continuous

monitoring while they are in use, and that it did not constitute “a significant change”



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from prior practice. Matthews Dep., ECF 283-29 at 49:6-21, 90:8-91:16. Matthews

also explained that the personal identifying information now required by the vote-

by-mail request provision is “just another layer of security to ensure that the person

who is asking for the ballot is entitled to ask for it,” akin to “multi-factor

authentication.” Id. at 58. Matthews testified that the notification provision provides

“another way of letting the voter be informed… that they have options” for how to

return their ballots, id. at 127:25-129:2, and that “the whole point” of the non-

solicitation provision is to ensure that “those who come to vote are not harassed in

any way that might be trying to influence them.” Id. at 160. Moreover, the shortened

vote-by-mail request period helps minimize mistakes that could undermine public

trust in the system. ECF 283-31 ¶¶ 22-25.

      Dr. Moreno’s report lends further support for the State’s interests. Moreno

explains how the 1993 Hialeah mayoral election was marred by “hundreds of

ballots…forged with tracing paper and erasable ink,” and how the 1997 Miami

mayoral election “was plagued with widespread ballot fraud.” ECF 283-6 at 18-19.

Prior to the 2021 Law, local jurisdictions were forced to take matters into their own

hands; Miami-Dade County, for example, adopted a local ordinance prohibiting

individuals from possessing multiple absentee ballots. Id. at 22. Dr. Moreno

concluded that the 2021 Law “is an appropriate response to Florida’s history of

absentee ballot fraud” and “will not have racially discriminatory effects.” Id. at 7.



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        Dr. Kidd’s expert report places Florida’s 2021 Law in context. Kidd explains

that Florida has, since 1982, made voting easier. Florida once required an excuse to

vote early in addition to notarization and witness requirements, but now permits

universal early voting with nothing beyond the voter’s own certification that they

are properly registered. ECF 283-1at 6, 9.

        Indeed, Kidd discusses how Florida’s standards for voting remain more

lenient than those in most of the country. After the 2021 Law, Florida is now one of

only ten states that affirmatively requires drop boxes to be provided to voters, and it

is “less restrictive than over half” of all states in its restrictions on the persons

authorized to return absentee ballots. Id. at 6-7. Two states require a witness

signature for voting absentee, and four states require a copy of the voter’s photo ID;

Florida requires neither. Id. at 7-8.

        Thus, the 2021 Law passes the Anderson/Burdick test.

              E.     Defendants are entitled to summary judgment for
                     Plaintiffs’ ADA claims.

        Plaintiffs also fail to produce evidence that relief could be granted pursuant to

Title II of the ADA. Plaintiffs have three provisions from the 2021 Law they are

challenging under the ADA: (1) Section 28’s in-person monitoring requirement for

drop boxes; (2) the vote-by-mail application renewal requirement; and (3) Section

29’s polling place solicitation prohibition. ECF 45 ¶ 164. Each of these challenges

fail.


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      To prevail under Title II of the ADA, a plaintiff must demonstrate “(1) that he

is a qualified individual with a disability; (2) that he was excluded from participation

in or denied the benefits of a public entity’s services, programs, or activities, or was

otherwise discriminated against by the public entity; and (3) that the exclusion,

denial of benefit, or discrimination was by reason of the plaintiff’s disability.” Am.

Ass’n of People with Disabilities v. Harris, 647 F.3d 1093, 1101 (11th Cir. 2011);

see also 42 U.S.C. § 12132. Importantly, the ADA does not mandate the use of any

particular technology or any specific accommodation, so long as every individual

has “an opportunity to participate in and benefit from the aid, benefit or service that

is… equal to that afforded others.” See 28 C.F.R. § 35.130(b)(1)(ii)-(iii); see also

45 C.F.R. § 84.4(b)(1)(ii)-(iii). Because the 2021 Law does not exclude or deny the

opportunity for voters with disabilities to equally participate in voting, deny them

the benefits of public voting services, or discriminate against voters because of their

disability, Defendants are entitled to judgment on Plaintiffs’ ADA claims.

                           1.    Drop Box Standard

      Plaintiffs contend that the Drop Box Standard adds “impermissible barriers to

voters with disabilities’ participation in elections” by “severely curtail[ing]” their

access to easily accessible outdoor drop boxes. ECF 45 ¶¶ 79, 81, 159. To support

this assertion, Plaintiffs speculate that a result of the in-person staffing requirement

will be that “many election officials will place most or all drop boxes indoors where



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staff are already located, which may be less accessible to voters with disabilities.”

Id. ¶ 159. Plaintiffs fail to provide evidence showing how the in-person monitoring

requirement of drop boxes excludes or denies individuals with disabilities equal

access to voting, much less discriminates against individuals with disabilities.

      Plaintiffs’ instead ask the Court to infer three layers of speculation to support

their argument. First, they ask the Court to infer that “many election officials” will

opt to move their drop boxes indoors in response to Section 28’s in-person staffing

requirement. ECF 45 ¶ 159. However, this is contradicted by testimony of numerous

supervisors who say that they will continue providing access to outdoor drop boxes

during early voting in the 2022 elections as they did in 2020, and that they will make

every attempt to assist their disabled constituents.       ECF 283-24 at 37:15-18

(confirming the 2021 “requires me to do nothing different” with regard to the future

provision of drop boxes); ECF 284-1 at 112:3-5 (confirming the 2021 law does not

prohibit drop boxes from being located outside).

      Second, Plaintiffs then infer that, as a result, some drop boxes “may” be less

accessible to voters with disabilities because of the boxes’ likely placement indoors.

ECF 45 ¶ 159. Third, they infer that—the buildings—will themselves be

inaccessible contrary to the requirements of the ADA, again without factual support.

See id. Thus, far from providing evidence capable of showing an ADA violation,

these arguments inadequately “pile[] speculation upon speculation.” D.C. ex rel.



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Walker v. Merck & Co., 874 F. Supp. 2d 599, 609 (E.D. La. 2012).

                          2.     Vote-by-Mail Request Provision

      Plaintiffs offer minimal to no support for their contention that the requirement

to renew vote-by-mail application requests each general election cycle, rather than

every two general election cycles, denies Plaintiffs’ rights protected by the ADA.

See ECF 45 ¶ 164. They only assert that this will “impose new burdens on many

voters with disabilities, who will be forced to contend with the logistical challenges

of completing a VBM ballot request twice as often.” Id. at ¶ 94. They provide no

evidence to support this speculative assertion, failing to explain how voters with

disabilities will be burdened through logistical challenges or otherwise. Summary

judgment is thus also appropriate regarding their ADA claim against the vote-by-

mail request provision.

                          3.     Non-Solicitation Provision

      Plaintiffs also assert that the non-solicitation provision inhibits family

members, caregivers, volunteers, and others “from providing food or water to a voter

with diabetes, or a chair to someone with limited mobility or breathing problems,”

and thus may expose these individuals to “potential liability for aiding…voters with

disabilities,” resulting in some voters with disabilities “having to choose between

their health and casting their vote.”     ECF 45 ¶ 161. Even if this expansive

interpretation of the non-solicitation requirement were correct, the argument fails



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because the 2021 Law allows for “an employee of, or a volunteer with, the

supervisor” to provide “nonpartisan assistance to voters within the no-solicitation

zone such as, but not limited to, giving items to voters….” Fla. Stat. § 102.031(4)(d).

      Not one Supervisor of Elections has indicated that their staff, employees, or

volunteers would refuse to provide voters waiting in line in need of assistance with

water, food, or a chair. E.g., ECF 283-24, 87:22-88:1; ECF 283-25 at 198:14-15.

Thus, by failing to point to a single Florida county where a supervisor’s employees

or volunteers would be unable or unwilling to provide needed help to voters with

disabilities, their ADA claims about the non-solicitation provision fails. The same

is true for their argument that voters with disabilities would be excluded or denied

the benefits of participation in in-person voting, or otherwise discriminated against

based on the voters’ disabilities as a result of the non-solicitation provision. Cf.

Harris, 647 F.3d at 1101.

      Therefore, this Court should grant summary judgment to Defendants on

Plaintiffs’ ADA claims.

      F.     Plaintiffs Fail to Demonstrate Preemption of the 2021 Law
             by Section 208 of the Voting Rights Act.

      Plaintiffs also fail to demonstrate that Section 208 of the VRA preempts the

2021 Law because the Florida law allegedly “criminalize[s] the provision of

assistance to voters with disabilities,” ECF 45 ¶ 228.

                    1.      There is no Private Cause of Action.


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      Section 208 does not provide a private right of action to Plaintiffs. The VRA

contains many sections dedicated to a remedial scheme to enforce its provisions.

Some provisions are enforceable by the U.S. Attorney General, see, e.g., 52 U.S.C.

§ 10504, and some provisions are enforceable by private litigants, see, e.g., id. §

10302(a). Section 208 contains no remedial scheme whatsoever. Id. § 10508.

      No private right of action exists unless “Congress intended to create” one.

McCulloch v. PNC Bank, Inc., 298 F.3d 1217, 1222 (11th Cir. 2002). “The Supreme

Court has cautioned the judiciary to exercise restraint in implying a private right of

action, and required that affirmative evidence of congressional intent to create a

private remedy must exist.” Id.

      In this case, although Congress’s intent in Section 208 certainly was to allow

needed assistance to voters who are disabled, blind, or illiterate, see JoNel Newman,

Ensuring That Florida’s Language Minorities Have Access to The Ballot, 36 Stetson

L. Rev. 329, 354 (2007), Plaintiffs provide no affirmative evidence of congressional

intent to create a private remedy under Section 208. To the contrary, the legislative

scheme demonstrates that Congress did not intend to create a private right of action:

Congress unambiguously created private rights of action in various other sections of

the VRA but conspicuously excluded it from Section 208.             Obviously then,

“when Congress wished to provide a private [] remedy, it knew how to do so and did

so expressly,” counseling strongly against this Court “imply[ing] a private remedy,”


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Touche Ross & Co. v. Redington, 442 U.S. 560, 571-72 (1979) (refusing to imply a

private right of action under the Securities Exchange Act of 1934). By declining to

do so under Section 208, Congress demonstrated that its intent was not to provide a

private remedy—inferring a right of action despite this weighty evidence would fly

in the face of the Supreme Court’s admonition to exercise restraint in implying a

private right of action, McCulloch, 298 F.3d at 1222.

                    2.     Section 208 Does Not Preempt Florida Law.

      Turning to the merits, Section 208 provides that “[a]ny voter who requires

assistance to vote by reason of blindness, disability, or inability to read or write may

be given assistance by a person of the voter’s choice, other than the voter’s employer

or agent of that employer or officer or agent of the voter’s union.” 52 U.S.C.

§ 10508. Conflict preemption exists where a party’s “compliance with both federal

and state regulations is a physical impossibility,” or where the challenged state law

“stands as an obstacle to the accomplishment and execution of the full purposes and

objectives of Congress.” Arizona v. United States, 567 U.S. 387, 399 (2012). The

Eleventh Circuit has affirmed its presumption of non-preemption when a state acts

“in a field which the States have traditionally occupied,” rooted in the “assumption

that the historic police powers of the States were not to be superseded by the Federal

Act unless that was the clear and manifest purpose of Congress.” Fla. E. Coast Ry.

v. City of W. Palm Beach, 266 F.3d 1324, 1328 (11th Cir. 2001).



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      As the Senate Report’s discussion of Section 208 states regarding its

objectives and the issue of preemption of state legislation:

      The Committee recognizes the legitimate right of any State to establish
      necessary election procedures, subject to the overriding principle that
      such procedures shall be designed to protect the rights of voters. State
      provisions would be preempted only to the extent that they unduly
      burden the right recognized in this section, with that determination
      being a practical one dependent upon the facts.

S. Rep. No. 417, 97th Cong., 2d Sess. at 62-63 (emphasis added).            Because

regulating elections is a quintessential area of traditional state regulation, the

Plaintiffs must overcome a strong presumption against preemption. They cannot.

      The Plaintiffs fail to produce evidence capable of demonstrating that the non-

solicitation provision unduly burdens the rights of disabled voters to receive

assistance by a person of the voter’s choice. Again, the Plaintiffs’ reading of the

non-solicitation provision as “criminaliz[ing] assistance from a friend, non-

immediate family member, or non-partisan volunteer in the form of a chair, water,

food, or medication provided to a voter with disabilities” is an overly expansive

interpretation. ECF 45 ¶ 226. So, there is no conflict with the demands of Section

208 of the VRA. In any event, the provision does not make compliance with Section

208 “impossible.” Pet Quarters, Inc. v. Depository Tr. & Clearing Corp., 559 F.3d

772, 780 (8th Cir. 2009); see also 52 U.S.C. § 10508 (requiring assistance by “a

person of the voter’s choice,” not assistance by the voter’s first or even preferred

choice).


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      Thus, Defendants are entitled to judgment on the Section 208 claim.

      G.     The Non-Solicitation Provision Complies with the First
             Amendment.

      Under the non-solicitation provision, individuals cannot “engag[e] in any

activity with the intent to influence or effect of influencing a voter” within a “150-

feet” buffer zone.        Fla. Stat. §102.031(a)-(b). Plaintiffs contend that the non-

solicitation provision, as applied to the distribution of food and water by individuals

not on the Supervisor’s staff, violates the First Amendment. This claim is flawed as

a matter of law and fact. Distributing food and water is conduct, not speech. Even if

it were speech, the non-solicitation provision survives any form of scrutiny.

                     1.       The Facts Support Summary Judgment.

      Plaintiffs’ challenge to the non-solicitation provision suffers an initial fatal

defect: testimony from the Supervisors. Supervisors consistently explain that the

non-solicitation provision in the 2021 Law does not require them to do anything

differently than they did during the 2020 general election. ECF 283-26 at 167-68

(“[W]e have never allowed any sort of activity other than exit polling…within the

no-solicitation zone…and we are going to continue our policy moving forward.”);

Bennett Dep., ECF 283-27 at 107 (reporting that no groups provided food or water

to Manatee County voters in 2020).

      Supervisors also favor the non-solicitation provision’s 150-foot buffer to

manage polling places. Some can get raucous. See ECF 283-21 at 77:9-21, 20:16-


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21:8; see also id. at ECF 283-7 at 1-2 (noting issues with “loud music” and “blow

horns.”).

      Thus, this Court should enter judgment against Plaintiffs’ First Amendment

challenge to the non-solicitation provision.

                   2.     The Non-Solicitation Provision does not Implicate the
                          First Amendment.

      Facts aside, the non-solicitation provision does not implicate the First

Amendment because it regulates only non-expressive conduct. The First

Amendment does not protect “conduct,” even though most conduct is “‘in part

initiated, evidenced, or carried out by means of language.’” Rumsfeld v. FAIR, 547

U.S. 47, 62 (2006). While regulating conduct imposes “incidental” burdens on

speech, that unsurprising fact “hardly means that the law should be analyzed as one

regulating…speech rather than conduct.”        Id.   Conduct must be “inherently

expressive” for it to be speech. Id. at 66. Stated differently, conduct must express

an “identifiable” message, Bar-Navon v. Brevard Cty. Sch. Bd., 290 F. App’x 273,

276 (11th Cir. 2008), to the average person. Burns v. Town of Palm Beach, 999 F.3d

1317, 1347 (11th Cir. 2021). This test is not a low bar: An “expansive” definition

of expressive conduct would allow a “limitless variety of conduct” to be labeled

speech because it is “possible to find some kernel of expression in almost every

activity a person undertakes.” Barnes v. Glen Theatre, Inc., 501 U.S. 560, 570

(1991).


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      Distributing food and drink near a polling place is not inherently expressive.

Such assistance could mean “Stay in line” or “Thanks for voting,” but it could also

mean “You look thirsty/hungry,” “We’d like to get rid of these extras,” “Come visit

our church sometime,” “Would you like to buy some water?” or “Vote for my

candidate.” Or it could mean that the distributor is serving the recipients for

innumerable personable reasons without intending to convey any message

whatsoever. A recipient cannot tell what message, if any, is being expressed without

additional speech—a telltale sign that the conduct is “not…inherently expressive.”

FAIR, 547 U.S. at 66. Recipients might “understand the distribution…as merely a

means to carry out an otherwise-conveyed message”—“something like ‘vote!’ or

‘voting is important.’” Lichtenstein, 489 F. Supp. 3d at 767. But without that extra

speech, a recipient could only “speculate” what “discernible message” or non-

message is being expressed by the “mere act” of distributing food and drink. Id. at

767-68.

      Rather than expression, distributing material accomplishes a utilitarian goal:

It gives thirsty people drink and hungry people food. As Plaintiffs admit, they do

this so that voters will stay in line and vote; people who are hungry or thirsty, the

logic goes, might leave the line early. While Plaintiffs believe that their conduct

facilitates voting, “facilitating voting” is “not…communicating a message.”

Feldman v. Ariz. Sec’y of State’s Off., 840 F.3d 1057, 1084 (9th Cir. 2016). That is



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true even if Plaintiffs’ conduct is “the product of deeply held personal belief,” has

“social consequences,” and “discloses” their approval of voting (or their disapproval

of lines). Nev. Comm’n on Ethics v. Carrigan, 564 U.S. 117, 126-27 (2011).

      In fact, courts have held that far more direct methods of facilitating voting are

not expressive conduct. Collecting and returning absentee ballots is not speech. See

Knox v. Brnovich, 907 F.3d 1167, 1181 (9th Cir. 2018). Neither is collecting or

returning voter-registration applications. See Voting for Am., 732 F.3d at 391 & n.4.

Groups in those cases also argued that their actions conveyed a message of support

for voting, voters, and the democratic process. See Knox, 907 F.3d at 1181.

Plaintiffs cannot explain why providing food and water to people waiting in line

communicates this message but helping people vote does not.

      As the Eleventh Circuit explained (agreeing with the Ninth Circuit), the

expressive nature of “food distribution” can only be “decided in an as-applied

challenge.” Ft. Lauderdale Food Not Bombs v. City of Ft. Lauderdale, 901 F.3d

1235, 1241 (11th Cir. 2018) (“FNB I”). That is because food distribution is not “on

its face an expressive activity.” Santa Monica Food Not Bombs v. City of Santa

Monica, 450 F.3d 1022, 1032 (9th Cir. 2006). The Eleventh Circuit concluded that

certain “food sharing events” for homeless people in public parks were expressive

only after considering “five…factors.” FNB I, 901 F.3d at 1242. The contextual

factors in FNB I are simply not met in this context. See Burns, 999 F.3d at 1343-47



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(deeming other conduct not expressive because the factors in FNB I were mostly

absent).     Unlike public parks, polling places are not hubs for free speech or

association; and unlike the homeless, voters are not an identifiable group with a well-

known need for free food and drink. Cf. FNB I, 901 F.3d at 1242-43.

      In sum, the 2021 Law regulates only conduct. The non-solicitation provision

thus does not implicate the First Amendment at all (and prohibiting the non-

solicitation of voters obviously survives rational-basis review).

                     3.    Even if the Non-Solicitation Provision Implicates the
                           First Amendment, It Passes Scrutiny.

      Finally, the non-solicitation provision satisfies First Amendment scrutiny in

any event.

      The non-solicitation provision applies only in nonpublic forums, so it need

only be “reasonable in light of the purpose served by the forum: voting.” Minn.

Voters All. v. Mansky, 138 S. Ct. 1876, 1886-88, 1883 (2018). As relevant to

Plaintiffs, the law applies inside polling places and within a buffer zone of 150 feet.

See Fla. Stat. §102.031(a). The interiors of polling places are obviously nonpublic

forums. Id. at 1886. And this Court should hold that, on election day, “the parking

lots and walkways leading to the polling places are nonpublic forums.” United Food

& Com. Workers Loc. 1099 v. City of Sidney, 364 F.3d 738, 750 (6th Cir. 2004). As

the Supreme Court explained in Mansky, its fractured decision in Burson v. Freeman

did not resolve “whether the public sidewalks and streets surrounding a polling place


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qualify as a nonpublic forum.” Id. Justice Scalia, who provided the fifth vote in

Burson, persuasively documented the long tradition of treating them as such. See

504 U.S. 191, 214-16 (1992) (Scalia, J., concurring). A majority of the U.S.

Supreme Court cited his opinion approvingly in Mansky, stressing that States have

long restricted speech “in and around polling places on Election Day.” 138 S. Ct. at

1883. These buffer zones are appropriate given “the special governmental interests

surrounding…polling places,” the need for a “bright-line prophylactic rule,” and the

fact that the non-solicitation provision imposes no limit on Plaintiffs’ ability to

“communicate [their] message through [actual] speech.” Hill, 530 U.S. at 728-29.

      The non-solicitation provision would still be subject to only intermediate

scrutiny, even if it regulated expressive conduct in a public forum. The provision is

content and viewpoint neutral: It prohibits “any activity” with the forbidden intent

of influencing voters. Fla. Stat. §102.031(b); see Fort Lauderdale Food Not Bombs

v. City of Fort Lauderdale, 11 F.4th at 1291-94 (11th Cir. 2021) (FNB II) (explaining

why a prohibition on “the provision of food…in order to meet [the public’s] physical

needs” was content and viewpoint neutral). The provision resembles a time, place,

or manner restriction—a quintessential content-neutral law.        See McCullen v.

Coakley, 573 U.S. 464, 479 (2014). Food and drink can be distributed, just not at a

certain place (near polling places) at a certain time (during elections); and whatever

message the distribution communicates can still be uttered, just not in a certain



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manner (by distributing food and drink). See Clark, 468 U.S. at 294-95. Content-

neutral regulations of expressive conduct “need only satisfy the ‘less stringent”

standard from O’Brien”—i.e., “intermediate scrutiny.” FNB II, 11 F.4th at 1294.

They need only “‘promote[] a substantial government interest that would be

achieved less effectively absent the regulation.’” FAIR, 547 U.S. at 67.

      The non-solicitation provision survives strict scrutiny as well. In Burson, a

plurality of the U.S. Supreme Court concluded that Tennessee’s buffer-zone law

satisfied strict scrutiny. 504 U.S. at 211. Similar reasoning applies here because

States have a “compelling interest” in protecting voters from “confusion,” “undue

influence,” “fraud,” “pressure,” and “intimidation.” Id. at 199; Brnovich, 2021 WL

2690267, at *13. States must be able to enact prophylactic provisions—rather than

rely on ex post prosecutions—because improper influence can be subtle, hard to

detect, and damaging to the electoral process in ways that cannot be undone. See

Burson, 504 U.S. 191, 206-07 (1992) (plurality op.).         Florida’s provision is

especially narrow because it regulates only the distribution of material with “the

intent to influence or effect of influencing a voter.” Fla. Stat. §102.031(b); see

Williams, 553 U.S. at 293-94 (scienter requirement bolsters law’s constitutionality).

             H.     The Non-Solicitation Provision is Neither Vague nor
                    Overbroad.

      Plaintiffs’ unconstitutional vagueness and overbreadth arguments directed at

the non-solicitation provision must also fail.


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                    1.     The non-solicitation provision provides reasonable
                           notice of what permitted.

      A law is unconstitutionally vague under the Due Process Clause of the

Fourteenth Amendment where it “fails to provide people with ordinary intelligence

a reasonable opportunity to understand what conduct it prohibits” or because it

“authorizes or even encourages arbitrary and discriminatory enforcement.” Hill v.

Colorado, 530 U.S. 703, 732 (2000). “[R]easonably clear lines” between proscribed

and permitted conduct are all that is required to pass muster under the Due Process

Clause. Smith v. Goguen, 415 U.S. 566, 574 (1974). Generally, the Supreme Court

is reluctant to declare statutes void for vagueness. See Parker v. Levy, 417 U.S. 733,

757 (1974).

      Plaintiffs assert that the non-solicitation provision is unconstitutionally vague

because it fails to draw an absolute line separating proscribed from permitted speech

and conduct within the 150-foot zone surrounding polling locations. ECF 160 ¶¶

179-86. Their argument hinges on the use of the words “any activity” and

“influence,” which Plaintiffs argue “leave them to guess” “what activities are

permitted or prohibited,” meaning there is effectively no limit to the kinds of

activities that could be criminalized within that perimeter. Id. ¶¶ 121, 183. They

warn that “[t]he possibilities of prohibited activities are virtually limitless, ranging

from speaking words to a voter to handing them water bottles or food.” Id. ¶ 183.

These arguments do not withstand scrutiny.


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      The non-solicitation provision’s text reveals it cannot reasonably be

interpreted to criminalize “any activity” within the no-solicitation zone—and

Plaintiffs point to no language beyond the two words “any activity” that reasonably

prohibits, inter alia, the nonpartisan provision of food, or water, or a chair to a voter.

      First, contrary to the Plaintiffs’ decision to read “any activity” in isolation, the

canons of construction mandate that “[w]ords of a statute are not to be

interpreted in isolation; rather a court must look to the provisions of the whole law

and to its object and policy.” MicroStrategy Inc. v. Bus. Objects, S.A., 429 F.3d

1344, 1363 (Fed. Cir. 2005). When the phrase “any activity” is construed reasonably

in the context of the surrounding text and the provision as a whole, the text is

unambiguous in what it prohibits: Partisan efforts of individuals or campaigns to

pressure or influence voters’ decisions within the buffer zone.

      Second, when, as here, general terms or phrases are included in a series of

more specific items, the general term should be interpreted to have meaning akin to

the more specific surrounding terms and in light of the surrounding provisions. See,

e.g., Gustafson v. Alloyd Co., 513 U.S. 561, 575 (1995). Using this canon, it is

apparent that the non-solicitation provision does not prohibit innocent, nonpartisan

assistance to voters waiting in line. Instead, the provision targets efforts to influence

the decisions of voters near polling locations.

      Notably, the “any activity” restriction itself is qualified by the important



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phrase “with the intent16 to influence or effect of influencing a voter,” demonstrating

that the provision does not extend to ordinary, run-of-the-mill activities like

innocently giving voters a drink of water—rather, the restriction narrowly targets

activities that have a reasonable likelihood of swaying a voter’s decision on how to

vote. Fla. Stat. § 102.031(4)(e) (emphasis added).

       It follows that merely giving water to voters waiting in line would not be

viewed as an activity “with the effect of influencing a voter.” Certainly, the Florida

Legislature did not need to engage in the unwieldy exercise of spelling out every

potential way that individuals or political groups could influence or attempt to

influence voters approaching a polling location—due process does not demand that

level of enumeration to prohibit obviously unsuitable conduct in all its various

permutations. Nor is that level of detail necessary to guard against the de minimis

risk of inconsistent enforcement. Instead, because the non-solicitation provision

identifies the prohibited conduct through its plain text and clear purpose, the

provision is not unconstitutionally vague.

       Third, even if the phrase “any activity” is vague when viewed in isolation, as

Plaintiffs assert, the series of prohibited activities immediately preceding the

16
   The Supreme Court “has recognized that a scienter requirement may mitigate a
law’s vagueness, especially with respect to the adequacy of notice to the complainant
that his conduct is proscribed.” Hoffman Estates v. Flipside, Hoffman Estates, 455
U.S. 489, 499 (1982). Accordingly, the scienter requirement of “intent to
influence…a voter” alleviates any alleged vagueness that may exist.


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provision, coupled with its broader context, reveals exactly the kinds of “activities”

the statute prohibits, and manifests an unmistakable purpose of prohibiting partisan

solicitation near polling locations, defeating Plaintiffs’ vagueness arguments. This

is because the “any activity” language comes from the definition of the terms

“solicit” and “solicitation” under the provision. Dictionaries confirm that “solicit”

is ordinarily understood to mean to entreat, approach with a request or plea, urge, or

entice     to   action.     See,    e.g.,   Solicit,   Merriam-Webster’s   Dictionary,

https://www.merriam-webster.com/dictionary/solicit (last accessed November 9,

2021). Importantly, the word does not ordinarily include the mere act of giving

assistance. The items included in the non-solicitation provision’s list of prohibited

actions preceding the provision at issue here bolsters this interpretation. Fla. Stat. §

102.031(4)(e).

         Finally, contrary to Plaintiffs’ foreboding, the carveout for supervisors’

volunteers and employees bolsters the Secretary’s interpretation because it confirms

the exact kinds of activities the statute permits and thus does not restrict: “providing

nonpartisan assistance to voters within the no-solicitation zone such as…giving

items to voters.” Fla. Stat. § 102.031(4)(e) (emphasis added). Restricting assistance

within the zone to nonpartisan activities again bolsters Defendant’s argument that

the legislature was primarily concerned with restricting partisan activities.

         Thus, Plaintiffs’ vagueness claims fail.



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                    2.     The overbreadth claims must fail.

       Because Plaintiffs’ Count V pleads vagueness and overbreadth together,

Secretary and Supervisors discuss the overbreadth doctrine here.17 The doctrine

prohibits regulation of substantially more protected speech than is necessary to

achieve regulatory purposes. See Broadrick v. Oklahoma, 413 U.S. 601, 612 (1973).

A regulation’s overbreadth “must not only be real, but substantial as well, judged in

relation to the statute’s plainly legitimate sweep.” Id. at 615. Overbreadth is,

however, a “manifestly[] strong medicine” sparingly employed by courts “only as a

last resort,” id. at 613. If “a limiting construction has been or could be placed on the

challenged statute,” the statute is saved. Id. at 613.

       First, as described in the above analysis of vagueness, the 2021 Law does not

prohibit the kinds of activities that Plaintiffs allege. See supra at 61-65.

       Second, even if the non-solicitation provision prohibits expressive conduct, as

the Plaintiffs allege, that speech would still not be protected from regulation because

the statute clearly regulates polling locations, which are nonpublic forums subject to

content-based speech restrictions, including political advocacy prohibitions.18 See

Mansky, 138 S. Ct. at 1885-86. If the regulations of a nonpublic forum are

17
  The U.S. Supreme Court has “not recognized an ‘overbreadth’ doctrine outside
the limited context of the First Amendment.” United States v. Salerno, 481 U.S. 739,
745 (1987).
18
  The U.S. Supreme Court’s First Amendment precedent permits states to create
“nonpublic forums.” See supra at 59-60.

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reasonable, they are lawful; a separate overbreadth analysis is not appropriate. See

Hodge v. Talkin, 799 F.3d 1145, 1171 (D.C. Cir. 2015). Here, the statute plainly

targets partisan activities with the intent or “effect of influencing a voter,” which is

essentially identical to political advocacy that the Supreme Court has said may be

restricted in polling locations. See Mansky, 138 S. Ct. at 1885-86.

      Thus, the overbreadth doctrine does not undermine the non-solicitation

provision.

      V.     Conclusion

      For the foregoing reasons, this Court should entry summary judgment against

Plaintiffs on all remaining counts in this case.


Respectfully submitted,                        Dated: November 13, 2021.

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                      CERTIFICATE OF COMPLIANCE

      I certify that the foregoing complies with the size and font requirements in the

local rules; however, the foregoing, combined with the accompanying memorandum

of law, exceeds the allowable word limits. The undersigned has filed a motion to

exceed the word limits. That motion was granted and increased the word limits up

to 16,000 words. See ECF No. 280. The accompanying memorandum complies with

the Court’s order as it contains only 15,766 words.

                                              /s/ Mohammad Jazil

                         CERTIFICATE OF SERVICE

      I certify that I served the foregoing on all counsel of record through this

Court’s CM/ECF system.

                                              /s/ Mohammad Jazil




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